 Case 4:20-cv-00335-O Document 127 Filed 04/18/22                Page 1 of 13 PageID 4040



                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 JOSEPH FRIEDHEIM, IASMIN                      §
 FRIEDHEIM, and JF SOLUTIONS,                  §
 LTD.,                                         §
                                               §
        Plaintiffs/Counter-Defendants,         §
                                               §
 v.                                            §    Civil Action No. 4:20-cv-0335-O
                                               §
 THOMAS HÖEBER,                                §
                                               §
        Defendant,                             §
                                               §
 HÖEBER MEDIA, LLC,                            §
                                               §
        Defendant/Intervenor-Plaintiff.        §

                                           ORDER

       Before the Court are Plaintiffs’ Motion for Leave to File Sur-reply (ECF No. 124), filed

March 30, 2022; and Defendants’ Response (ECF No. 126), filed April 6, 2022. The Court

GRANTS the motion and DIRECTS the Clerk of Court to file the brief attached to the motion

(ECF No. 124-1) as Plaintiffs’ Sur-reply to Defendants’ Motion for Attorney Fees (ECF No. 117).

       Also before the Court are Defendants’ Motion for Attorney Fees and Motion to Alter or

Amend Judgment (ECF No. 117), filed February 21, 2022; Plaintiffs’ Response and Objection

(ECF No. 120), filed March 14, 2022; Defendants’ Reply (ECF No. 123), filed March 25, 2022;

Plaintiffs’ Sur-reply (ECF No. 124-1), filed March 30, 2022; Defendants’ Bill of Costs (ECF No.

118), filed February 21, 2022; Plaintiffs’ Response and Objection (ECF No. 119), March 7, 2022;

Defendants’ Reply (ECF No. 121), filed March 21, 2022; Defendants’ Amended Bill of Costs

(ECF No. 122), filed March 21, 2022; Plaintiffs’ Objection (ECF No. 125), filed April 4, 2022.

The Court’s disposition of the motions and objections follows.
 Case 4:20-cv-00335-O Document 127 Filed 04/18/22                 Page 2 of 13 PageID 4041



      I.   BACKGROUND

       Plaintiffs Joseph and Iasmin Friedheim own JF Solutions, Ltd., a Texas limited liability

company that imports a cherry liquor manufactured in Portugal. Defendants Thomas Höeber and

his marketing business, Höeber Media, LLC, performed marketing work for Plaintiffs related to

the imported liquor. The parties tried their copyright and contract claims before a jury on

November 1, 2021. The jury returned a verdict on November 2. The parties then filed motions

regarding joint and several liability, unjust enrichment, and theft of services. The Court resolved

the motions and issued a final judgment determining:

       1. Joseph Friedheim’s copyright registration for JF Solutions, Ltd.’s Corporate
          Identity Restyle, Reg. No. VA 2-182-743, is invalid.

       2. JF Solutions infringed the following copyrights owned by Höeber Media:
          (a) The Bottle Label, No. VA 2-159-069; (b) The Bottle Illustration, No. VA 2-
          159-066; and (c) The Splash Poster, No. VA 2-190-793.

       3. Joseph Friedheim infringed the following copyright owned by Höeber Media:
          The Splash Poster, No. VA 2-190-793.

       4. JF Solutions owes Höeber Media $33,750 in statutory damages for copyright
          infringement and an additional $33,000 for willful copyright infringement.

       5. Joseph Friedheim owes Höeber Media $11,250 in statutory damages for
          copyright infringement and an additional $12,000 for willful copyright
          infringement.

       6. JF Solutions owes Höeber Media $39,557 for breach of contract.

       7. Joseph Friedheim, Iasmin Friedheim, and JF Solutions committed theft of
          Höeber Media’s services.

See Order, ECF No. 114; Final Judgment, ECF No. 115. The parties then filed motions and briefs

regarding attorneys’ fees, costs, and pre- and postjudgment interest.

     II.   LEGAL STANDARD

       “Unless a federal statute, these rules, or a court order provides otherwise, costs—other than

attorney’s fees—should be allowed to the prevailing party.” Fed. R. Civ. P. 54(d)(1). Generally, a



                                                 2
    Case 4:20-cv-00335-O Document 127 Filed 04/18/22                    Page 3 of 13 PageID 4042



party claiming attorneys’ fees must file a motion detailing the request. See id. at 54(d)(2). Such a

motion must “(i) be filed no later than 14 days after the entry of judgment; (ii) specify the judgment

and the statute, rule, or other grounds entitling the movant to the award; [and] (iii) state the amount

sought or provide a fair estimate of it.” Id. at 54(d)(2)(B). Also, if the Court orders, the movant

must disclose the “terms of any agreement about fees for the services for which the claim is made.”

Id. at 54(d)(2)(B)(4).

      III.   ANALYSIS

             A. Attorneys’ Fees

         “The so-called ‘American Rule’ governing the award of attorneys’ fees in litigation in the

federal courts is that attorneys’ fees ‘are not ordinarily recoverable in the absence of a statute or

enforceable contract providing therefor.’” F. D. Rich Co. v. U. S. for Use of Indus. Lumber Co.,

417 U.S. 116, 126 (1974). The same rule applies in Texas. See Tony Gullo Motors I, L.P. v. Chapa,

212 S.W.3d 299, 310 (Tex. 2006). “As a result, fee claimants have always been required to

segregate fees between claims for which they are recoverable and claims for which they are not.”

Id. at 311. “State law controls both the award of and the reasonableness of fees awarded where

state law supplies the rule of decision.” ATOM Instrument Corp. v. Petroleum Analyzer Co., 969

F.3d 210, 216 (5th Cir. 2020) (citation and internal quotation marks omitted). Regardless of the

source of substantive law, federal procedure controls the pleading and notice of attorneys’ fees.

See United Indus., Inc. v. Simon-Hartley, Ltd., 91 F.3d 762, 764 (5th Cir. 1996).

         Defendants timely request attorneys’ fees (1) under the Copyright Act, (2) under the

Defend Trade Secrets Act, (3) under the Deceptive Trade Practices Act, (4) under the Texas Theft

Liability Act, and (5) for alleged litigation misconduct.1 The Court GRANTS Defendants’


1
  This is true for all but one category of fees. In their motion for attorneys’ fees, Defendants omitted any
request for attorneys’ fees under Chapter 38 of the Texas Civil Practices and Remedies Code. See Defs.’


                                                     3
 Case 4:20-cv-00335-O Document 127 Filed 04/18/22                        Page 4 of 13 PageID 4043



requests for attorneys’ fees under the Copyright Act and the Texas Theft Liability Act, DENIES

Defendants’ other requests for attorneys’ fees, and ORDERS Defendants to segregate recoverable

fees from nonrecoverable fees.

                1. Attorneys’ Fees Under the Copyright Act

        The Copyright Act permits courts to award reasonable attorneys’ fees to the prevailing

party. See 17 U.S.C. § 505. The statute “gives ‘broad leeway’ to courts.” Digital Drilling Data

Sys., L.L.C. v. Petrolink Servs., Inc., 965 F.3d 365, 385 (5th Cir. 2020) (quoting Kirtsaeng v. John

Wiley & Sons, Inc., 136 S. Ct. 1979, 1986 (2016)). But the Supreme Court has imposed some

boundaries: “First, courts must not simply award fees to the prevailing party as a matter of course.

Second, courts must treat prevailing plaintiffs and prevailing defendants alike, rather than holding

defendants to a more stringent standard.” Id. (citation omitted). Courts must also consider various

factors such as “frivolousness, motivation, objective unreasonableness (both in the factual and in

the legal components of the case) and the need in particular circumstances to advance

considerations of compensation and deterrence.” Fogerty v. Fantasy, Inc., 510 U.S. 517, 535

(1994) (citation omitted). Finally, even though “fees should not be awarded to prevailing parties

as a matter of course . . . ‘an award of attorney’s fees to the prevailing party in a copyright action

is the rule rather than the exception and should be awarded routinely.’” Digital Drilling Data Sys.,

965 F.3d 386 (citation omitted).

        Defendants are entitled to attorneys’ fees under the Copyright Act. The Court previously

ruled on this issue, and it need not repeat that analysis here. See Order 22–25, ECF No. 80.

Plaintiffs agree that “Hoeber is entitled to attorneys’ fees for his [copyright] infringement claims.”


Mot. for Attorney Fees, ECF No. 117. Defendants raised a Chapter 38 claim in their reply brief, long after
the fourteen days after final judgment required by Rule 54. “This failure to file within the allotted period
serves as a waiver of its claim for attorneys’ fees.” United Indus., Inc. v. Simon-Hartley, Ltd., 91 F.3d 762,
766 (5th Cir. 1996).


                                                      4
 Case 4:20-cv-00335-O Document 127 Filed 04/18/22                  Page 5 of 13 PageID 4044



Pls.’ Resp. 4, ECF No. 120. The Court thus GRANTS Defendants’ request for attorneys’ fees

under the Copyright Act.

               2. Attorneys’ Fees Under the Defend Trade Secrets Act

       The Court dismissed Plaintiffs’ claims under the Defend Trade Secrets Act for failure to

state a claim. See Order 17–19, ECF No. 24. Under the Defend Trade Secrets Act, the Court may

award reasonable attorneys’ fees to the prevailing party “if a claim of the misappropriation is made

in bad faith.” 18 U.S.C. § 1836(b)(3)(D). Such a claim “may be established by circumstantial

evidence.” Id. To determine whether a party made a misappropriation claim in bad faith, courts

ask “(1) whether the claims were entirely baseless or objectively specious and (2) whether the

claims were made or pursued in subjective bad faith or for an improper purpose.” Vita Int’l, Inc.

v. Foro Energy, Inc., No. 4:18-CV-01663, 2022 WL 350195, at *19 (S.D. Tex. Jan. 4, 2022).

       Defendants argue that “[t]he lack of the essential facts to support the trade secret claim,

coupled with the urgency to replace the failed copyright claim is circumstantial evidence that this

claim was brought in bad faith.” Defs.’ Mot. for Attorney Fees 17, ECF No. 117. The Court

disagrees. The Court dismissed the misappropriation claims after “carefully review[ing]” the

complaint. Order 18, ECF No. 24. The Court did not rule that the claims were frivolous, “entirely

baseless,” or “objectively specious.” Vita Int’l, 2022 WL 350195, at *19. Mere dismissal is not

evidence of bad faith. Likewise, Defendants provide insufficient evidence that Plaintiffs pursued

the claims “in subjective bad faith or for an improper purpose.” Id. The Court thus DENIES

Defendants’ request for attorneys’ fees under the Defend Trade Secrets Act.

               3. Attorneys’ Fees Under the Texas Deceptive Trade Practices Act

       The Court dismissed Plaintiffs’ claim under the Deceptive Trade Practices Act on summary

judgment. See Order 11–13, ECF No. 80. Under the Deceptive Trade Practices Act, the Court must

award reasonable attorneys’ fees to the prevailing party if it finds that the claim under the act was


                                                 5
 Case 4:20-cv-00335-O Document 127 Filed 04/18/22                  Page 6 of 13 PageID 4045



“groundless in fact or law or brought in bad faith, or brought for the purpose of harassment.” Tex.

Bus. & Com. Code § 17.50(c) (2021). “[B]oth Texas courts and federal courts interpreting these

statutory provisions have determined that a groundless action is defined as one having no basis in

law or fact and not warranted by a good faith contention for modification, reversal, or extension

of existing law.” McCoy v. Valvoline, LLC, No. 3:20-cv-3062, 2021 WL 4893751, at *10 (N.D.

Tex. Oct. 19, 2021) (cleaned up).

       The Court found that Plaintiffs’ claim under the Deceptive Trade Practices Act failed for

two reasons. First, “Plaintiffs lack[ed] evidence showing they qualify as ‘consumers’ under the

[Deceptive Trade Practices Act].” Order 12, ECF No. 80. Second, Plaintiffs lacked evidence of

actual damages. Id. at 13. Defendants argue that both grounds are sufficient to award of attorneys’

fees. See Defs.’ Mot. for Attorney Fees 17–18, ECF No. 117. Defendants also point to conflicting

evidence offered by Plaintiffs during deposition. Again, the Court finds Defendants’ evidence

insufficient to establish that the claim had “no basis in law or fact.” McCoy, 2021 WL 4893751, at

*10. The Court thus DENIES Defendants’ request for attorneys’ fees under the Deceptive Trade

Practices Act.

                 4. Attorneys’ Fees Under the Texas Theft Liability Act

       Under the Texas Theft Liability Act, a party who prevails in a suit for theft of services

“shall be awarded court costs and reasonable and necessary attorney’s fees.” Tex. Civ. Prac. &

Rem. Code § 134.005(b). “Theft” includes “unlawfully obtaining services.” Id. § 134.002(2). The

jury found by a preponderance of the evidence that all three Plaintiffs committed theft of

Defendants’ services. See Jury Verdict 9, ECF No. 102. Plaintiffs do not dispute that the jury’s

finding would ordinarily justify attorneys’ fees under the Texas Theft Liability Act. They

nevertheless argue that the Court should deny attorneys’ fees because Defendants provided

insufficient notice that they were seeking attorneys’ fees under the act.


                                                 6
 Case 4:20-cv-00335-O Document 127 Filed 04/18/22                  Page 7 of 13 PageID 4046



       Attorneys’ fees are a form of special damages. See United Indus., 91 F.3d at 764.

Consequently, parties claiming attorneys’ fees must “specifically” plead them. Fed. R. Civ. P. 9(g).

“[T]he rule is designed to inform defending parties as to the nature of the damages claimed in order

to avoid surprise; and to inform the court of the substance of the complaint.” Great Am. Indem.

Co. v. Brown, 307 F.2d 306, 308 (5th Cir. 1962). The rule has exceptions. A party need not

specifically plead attorneys’ fees when, for example, “the issue is tried by consent or included in

a pretrial order.” United Indus., 91 F.3d at 765. In other circumstances, simply satisfying Rule

54(c) is sufficient. Id. at 765 & n.4 (citing Engel v. Teleprompter Corp., 732 F.2d 1238, 1240–41

(5th Cir. 1984)).

       Defendants provided sufficient notice of attorneys’ fees for theft of services. Höeber

Media’s counterclaims contained a specific request for “[r]easonable attorney’s fees against Joseph

and Iasmin Friedheim for services rendered, and labor provided to JF Solutions on the false

promise of payment and an ownership interest in JF Solutions.” Intervenor’s Compl. 20, ECF No.

11. The proposed joint pretrial order likewise contained a notice that the “theft of services causes

of action entitle[s] Hoeber Media to exemplary damages and attorneys’ fees.” J. Pretrial Order 5,

ECF No. 92. And Plaintiffs agreed to the jury charge instructing the jury on theft of services. See

Proposed Jury Charge 66, ECF No. 66. Defendants repeated their request for attorneys’ fees under

the Texas Liability Act in multiple filings before the Court issued the final judgment. See Defs.’

Br. on Interpretation of the Jury Verdict 4–7, ECF No. 108; Defs.’ Reply 6–8, ECF No. 113; Defs.’

Resp. to Mot. to Set Aside J. 5, ECF No. 110. Fourteen days after the Court entered final judgment,

Defendants moved for attorneys’ fees under the Texas Theft Liability Act in compliance with Rule

54(d)(2). See Defs.’ Mot. for Attorney Fees, ECF No. 117.




                                                 7
 Case 4:20-cv-00335-O Document 127 Filed 04/18/22                    Page 8 of 13 PageID 4047



       Plaintiffs argue that those filings do not amount to sufficient notice. They complain that

the Texas Theft Liability Act “was never referenced in this litigation until after the jury had

rendered its verdict.” Pls.’ Resp. 5, ECF No. 120. Plaintiffs cite no authority for their claim that a

party must cite the specific statute under which it claims attorneys’ fees. Generally, “allegations

of special damage will be deemed sufficient for the purpose of Rule 9(g) if they are definite enough

to notify the opposing party and the court of the nature of the damages and enable the preparation

of a responsive pleading.” 5A Charles A. Wright & Arthur R. Miller, Fed. Prac. & Proc. Civ.

§ 1311 (4th ed.).

       The record demonstrates that Plaintiffs had sufficient pretrial and prejudgment notice that

Defendants sought attorneys’ fees. (1) Defendants specifically pleaded attorneys’ fees for theft of

services. (2) Plaintiffs agreed to the jury charge that included a claim for theft of services. (3) The

jury found by a preponderance of the evidence that Plaintiffs committed theft of Defendants’

services. (4) In post-trial briefing, Defendants repeatedly stated their intent to move for attorneys’

fees under Tex. Civ. Prac. & Rem. Code § 134.005(b). (5) Defendants timely moved for attorneys’

fees for theft of services under Rule 54. The Court thus GRANTS Defendants’ request for

attorneys’ fees under the Texas Theft Liability Act.

               5. Attorneys’ Fees for Litigation Misconduct

       Defendants also request attorneys’ fees for alleged litigation misconduct. Defendants do

not cite any authority for this claim, but “federal courts possess inherent power to assess attorney’s

fees and litigation costs when the losing party has ‘acted in bad faith, vexatiously, wantonly or for

oppressive reasons.’” Batson v. Neal Spelce Assocs., 805 F.2d 546, 550 (5th Cir. 1986) (quoting

F. D. Rich Co. v. U. S. for Use of Indus. Lumber Co., 417 U.S. 116, 129 (1974). “The standards

for bad faith are necessarily stringent.” Id. Defendants’ complaints of Plaintiffs’ litigation tactics

do not satisfy the “stringent” standard for bad faith. Id. Any alleged misconduct was brief, easily


                                                  8
 Case 4:20-cv-00335-O Document 127 Filed 04/18/22                   Page 9 of 13 PageID 4048



explainable, or quickly remedied. The Court thus DENIES Defendants’ request for attorneys’ fees

for Plaintiffs’ alleged litigation misconduct.

               6. Segregation of Attorneys’ Fees

       The Court has awarded attorneys’ fees to Defendants for their claims under the Copyright

Act and the Texas Theft Liability Act. The Court has denied Defendants’ remaining claims for

attorneys’ fees. “[F]ee claimants have always been required to segregate fees between claims for

which they are recoverable and claims for which they are not.” Tony Gullo Motors I, 212 S.W.3d

at 311. An exception is “when discrete legal services advance both a recoverable and

unrecoverable claim that they are so intertwined.” Id. at 313–14. Defendants suggest that awards

for attorneys’ fees under the Copyright Act and the Texas Theft Liability Act would cover “nearly

all of the attorneys’ fees” associated with the case. Defs.’ Reply 3, ECF No. 123. The Court thus

ORDERS Defendants to segregate the attorneys’ fees accrued in support of the recoverable claims

from the nonrecoverable claims. The Court DEFERS ruling on (1) the amount and reasonableness

of the fees, and (2) the assignment of Plaintiffs’ liability for the fees until the parties file

supplemental briefing.

           B. Costs

       Generally, courts award costs to the prevailing party. See Fed. R. Civ. P. 54(d)(1). Federal

statute sets the types of expenses that a court may award as costs. See 28 U.SC. § 1920. Defendants

submitted a bill of costs (ECF No. 118), followed by an amended bill of costs to correct a clerical

error (ECF No. 122), and calculate the total costs to be $11,546.49. Plaintiffs object to twenty-four

specific items in the amended bill of costs, which can be grouped into four categories: (1) copyright

registration fees, (2) incidental deposition costs, (3) deposition videotaping costs, and (4) printing

costs. See Pls.’ Obj. to Bill of Costs, ECF No. 119.




                                                  9
Case 4:20-cv-00335-O Document 127 Filed 04/18/22                           Page 10 of 13 PageID 4049



           First, the copyright registration fees are not taxable costs. Defendants claim that the

copyright registration fees are “exemplification” fees under § 1920(4). See Defs.’ Reply in Support

of Costs 2, ECF No. 121. Defendants rely on Giner v. Estate of Higgins, No. 11-CV-126, 2012

WL 2397440, at *5 (W.D. Tex. June 22, 2012), but that case did not concern copyright registration

fees. The court in Giner ruled that the plaintiff was entitled to recover costs associated with making

copies of the defendant’s answer. Id. at *5. A copyright registration fee is not analogous to costs

associated with making copies of a document, and Defendants cite no authority saying otherwise.

Moreover, Defendants paid the copyright registration fees before Plaintiffs even filed the

complaint. See Defs.’ Reply in Support of Costs 2, ECF No. 121. The Court thus SUSTAINS

Plaintiffs’ objections to items 1 and 2 of the amended bill of costs,2 thus reducing the taxable costs

by $1,890.

           Second, the incidental deposition costs are not taxable. “[P]revailing parties are entitled to

recover the costs of original depositions and copies under 28 U.S.C. § 1920(2) and § 1920(4)

respectively, provided they were ‘necessarily obtained for use in the case.’” Fogleman v.

ARAMCO (Arabian Am. Oil Co.), 920 F.2d 278, 285 (5th Cir. 1991) (footnote omitted). Many

district courts in the Fifth Circuit have ruled, however, that “[i]ncidental costs associated with

taking the depositions . . . such as the costs for disks, delivery charges, and indexing, are generally

not recoverable.” Leal v. Magic Touch Up, Inc., No. 3:16-CV-00662, 2019 WL 162885, at *2

(N.D. Tex. Jan. 9, 2019) (collecting cases). That includes preparation costs incurred for the

convenience of counsel. See Neely v. PSEG Tex., LP, No. 10-CV-030, 2012 WL 12877922, at *3

(W.D. Tex. Oct. 25, 2012). Plaintiffs object to incidental costs such as binding, preparing

ASCII/condensed transcripts, and e-transcripts. See Pls.’ Obj. to Bill of Costs 3–5, ECF No. 119.



2
    The item numbers refer to Plaintiffs’ list. See Pls.’ Obj. to Bill of Costs 3, 7, ECF No. 119.


                                                        10
Case 4:20-cv-00335-O Document 127 Filed 04/18/22                 Page 11 of 13 PageID 4050



Defendants argue that the incidental deposition costs reflect the “customary practice of preparing

the transcripts in a usable fashion.” Defs.’ Reply in Support of Costs 2, ECF No. 121 (emphasis

omitted). That may be so. But those customary costs are not taxable against the losing party. See

Leal, 2019 WL 162885, at *2. Defendants cite no authority to the contrary. The Court thus

SUSTAINS Plaintiffs’ objections to items 3 through 13 of the amended bill of costs, thus reducing

the taxable costs by $826.80.

       Third, the costs of videotaping the depositions are not taxable. Generally, costs associated

with videotaping a deposition are recoverable under § 1920(2). See Leal v. Magic Touch Up, Inc.,

No. 3:16-cv-00662, 2019 WL 162885, at *3 (N.D. Tex. Jan. 9, 2019). Where the parties obtained

both transcripts and videos of a deposition, however, courts generally tax the video costs only

“when the circumstances of the case have made it appear reasonably necessary, at the time of the

deposition, to have a videotape of the deposition.” Id. at *4 (collecting cases). Defendants argue

the videos were “indispensable” because “they are far more revealing than the flat transcript.”

Defs.’ Reply in Support of Costs 3, ECF No. 121. But Defendants provide no persuasive argument

as to why the duplicative videos were “reasonably necessary” when the written transcripts were

available. Leal, 2019 WL 162885, at *4. Courts routinely refuse to tax video deposition costs when

transcripts of those depositions are available. See id. The Court thus SUSTAINS Plaintiffs’

objections to items 14 through 18 of the amended bill of costs, thus reducing the taxable costs by

$2,432.50

       Fourth, the printing costs are taxable. “Before the district court can tax costs for

photocopies, it must find that the copies for which costs are sought were necessarily obtained for

use in the litigation. Moreover, the party seeking such costs must offer some proof of the

necessity.” Holmes v. Cessna Aircraft Co., 11 F.3d 63, 64 (5th Cir. 1994) (citation omitted).




                                                11
Case 4:20-cv-00335-O Document 127 Filed 04/18/22                   Page 12 of 13 PageID 4051



Defendants assert that the printing costs covered copies for trial exhibits. As is the case in most

trials, Defendants did not ultimately use or admit all exhibits, for a variety of reasons. Plaintiffs’

arguments that the printing costs were unreasonable or unnecessary are unpersuasive. The Court

thus OVERRULES Plaintiffs’ objections to items 21 and 22. However, items 19, 20, 23, and 24

are incidental costs (binders and tabs) that the Court has already explained are not taxable. The

Court thus SUSTAINS Plaintiffs’ objections to items 19, 20, 23, and 24 of the amended bill of

costs, thus reducing the taxable costs by $651.34.

       In sum, the Court reduces Defendants’ amended bill of costs by $5,800.64 and therefore

taxes $5,745.85 in costs against Plaintiffs.

           C. Pre- and Postjudgment Interest

       The parties agree that Defendants are entitled to postjudgment interest under 28 U.S.C.

§ 1961. They dispute whether Defendants are entitled to prejudgment interest. Unlike

postjudgment interest, prejudgment interest is “governed by traditional judge-made principles”

rather than statute. City of Milwaukee v. Cement Div., Nat. Gypsum Co., 515 U.S. 189, 194 (1995).

The parties dispute whether Defendants properly pleaded their request for prejudgment interest.

The Court need not reach that issue, because Defendants cite no substantive law indicating they

are entitled to such interest, even had they properly pleaded it. The only authority Defendants cite

in their initial motion is City of Milwaukee, an admiralty case discussing the “general rule that

prejudgment interest should be awarded in maritime collision cases.” City of Milwaukee, 515 U.S.

at 195. This is not an admiralty case. It is also not a diversity case, though the parties discuss

Consolidated Cigar Co. v. Texas Commerce Bank, 749 F.2d 1169, 1174 (5th Cir. 1985).

Defendants cite no authority supporting their claim to prejudgment interest. Moreover, Defendants

concede that its proposed date from which to calculate the interest is “imperfect,” and a true date

“would be cumbersome to calculate.” Defs.’ Mot. for Attorney Fees 28, ECF No. 117. Defendants


                                                 12
Case 4:20-cv-00335-O Document 127 Filed 04/18/22                 Page 13 of 13 PageID 4052



also do not propose an interest rate or provide a calculation. The Court thus DENIES Defendants’

request for prejudgment interest.

    IV.    CONCLUSION

       In sum, the Court GRANTS Defendants’ requests for attorneys’ fees under the Copyright

Act and the Texas Theft Liability Act; DENIES Defendants’ requests for attorneys’ fees under

the Defend Trade Secrets Act, the Deceptive Trade Practices Act, and Chapter 38 of the Texas

Civil Practices and Remedies Code; DENIES Defendants’ request for attorneys’ fees for

alleged litigation misconduct; and DENIES Defendants’ request for prejudgment interest.

The Court also SUSTAINS in part and OVERRULES in part Plaintiffs’ objections to

Defendants’ amended bill of costs.

       The Court ORDERS Defendants to file supplemental briefing that segregates the

attorneys’ fees accrued in support of the recoverable claims from the remaining services in the

case. The supplemental briefing shall be filed no later than seven days from the date of this order

and must contain a detailed breakdown of the calculation used to arrive at the lodestar amount.

Plaintiffs may file a response within three days of Defendants’ supplemental brief. The Court

DEFERS ruling on the apportionment of liability for the attorneys’ fees until that time.

       SO ORDERED this 18th day of April, 2022.



                                                 _____________________________________
                                                 Reed O’Connor
                                                 UNITED STATES DISTRICT JUDGE




                                                13
